     Case 2:23-bk-10990-SK        Doc 655 Filed 02/13/24 Entered 02/13/24 17:59:06                Desc
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                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
6                                                                       BY francis DEPUTY CLERK


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                              UNITED STATES BANKRUPTCY COURT
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                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
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12
13   In re:                                         Case No.: 2:23-bk-10990-SK
14   Leslie Klein                                   CHAPTER 11
15                                                  ORDER REQUIRING LESLIE KLEIN AND
                                                    ERIC J. OLSON TO APPEAR IN PERSON
16
                                                    DURING 2/14/24 HEARINGS
17
                                                    Date: 2/14/24
18                                     Debtor.      Time: 9:00 a.m.
                                                    Crtrm: 1575
19                                                         255 E. Temple St.
                                                           Los Angeles, CA 90012
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23
24            On 12/19/23, David Berger (Berger) filed a “Motion for Default Judgment . . .” in
25   Berger v. Klein (Berger AP), #23-01169, which is set for hearing on 2/14/24 at 9:00 a.m.
26   Berger AP Docket #s 48, 49.
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1            On 1/10/24, Robert and Esther Mermelstein (Mermelsteins) filed a “Motion for
2    Default Judgment . . .” in Mermelstein v. Klein (Mermelstein AP), #23-01153, which is
3    set for hearing on 2/14/24 at 9:00 a.m. Mermelstein AP Docket #s 46, 47.
4            On 1/2/24, Leslie Klein (Klein) filed an answer pro se in the Berger AP and on
5    1/12/24, Klein filed an answer pro se in the Mermelstein AP. Berger AP Docket #50;
6    Mermelstein AP Docket #48.
7            On 1/30/24, Eric J. Olson (Olson) signed and filed in the bankruptcy case an
8    “Attorney’s Disclosure of Postpetition Compensation Arrangement with Debtor”
9    (Disclosure). BK Docket #629. The Disclosure highlights that Olson “counseled [Klein]
10   on a non[]expert basis and ghostwrote various documents for Debtor at his request.” Id.
11   at 2.
12           On 2/5/24, in the Berger AP and the Mermelstein AP, Klein filed a “Declaration of
13   Eric J. Olson in Response to Plaintiff’s Motion for Default Judgment, which attached
14   virtually identical “Declaration[s] of Eric J. Olson . . .” (collectively, Declarations). Berger
15   AP Docket #51; Mermelstein AP Docket #49. The Clerk of Court issued a Notice to
16   Filer in each case, indicating that Klein’s signature was unreadable and there was no
17   proof of service. Berger AP Docket #52; Mermelstein AP Docket #50. On 2/12/24,
18   Klein refiled the Declarations. Berger AP Docket #54; Mermelstein AP Docket # 52.
19           The Declarations, which Olson signed under penalty of perjury, provide the
20   following:
21                 I appeared on behalf of Leslie Klein while he engaged a bankruptcy
22           lawyer, but I was substituted out in favor of the bankruptcy lawyer. Subsequently
23           I have, without appearing, consulted with Mr. Klein and drafted documents for
24           him in pro se.
25           ...
26                 Mr. Klein contacted us on or about November 28, 2023, to draft answers
27           for him. On or about November 28, 2023, I asked my assistant to check the
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1           dockets and he reported that such Plaintiffs had already requested entry of
2           default. I sent the attorney a letter on November 29, 2023.
3           ...
4                  I was informed that there was a status conference on or about December
5           20, 2023 where Mr. Klein was instructed to present his grounds for being
6           permitted to file answers and set aside the defaults at hearings scheduled [on]
7           2/14/24.
8                  Subsequently in each case the Plaintiff(s) filed amendments to their claims
9           and I revised the draft answers . . . for Mr. Klein and had my assistant present
10          them for filing on his behalf. Such Answers were filed and conformed copies are
11          attached . . . I have not heard directly or indirectly from the attorney for Plaintiffs
12          about them.
13   Berger AP Docket #s 51, 54 (Olson 2/2/24 Decl. ¶¶ 1, 6, 8, 9); Mermelstein AP Docket
14   #s 49, 52 (Olson 2/2/24 Decl. ¶¶ 1, 6, 8, 9).
15          IT IS HEREBY ORDERED that Leslie Klein and Eric J. Olson appear in person in
16   Courtroom 1575 on 2/14/24 at 9:00 a.m.
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          Date: February 13, 2024
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